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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                  ) INFORMATION NO.             p
                                                                         m            c:
                                           )                             aj
                                                                                     .V'
              V.                           ) 18 U.S.C. 8 1791(a)(2)Sr          ^
                                           ) Possession of Contrahi nd
EDWARD DOOLEY                              )                          ^             >orn




THE UNITED STATES ATTORNEY CHARGES THAT:



                                    COUNT ONE
                          Possession of Contraband in Prison
                                18U.S.C. § 1791(a)(2)

      On or about July 11, 2018, in Wayne County, within the Southern District of

Georgia, the defendant,

                                EDWARD DOOLEY,

an inmate of FCI Jesup, a federal correctional facility, knowingly possessed a

prohibited object, to wit: a tattoo needle, which is an object that threatens the order,

discipline, and security of the prison and the life, health and safety of an individual.

      All in violation of Title 18, United States Code, Section 1791(a)(2).



                                               BOBBY L. CHRISTINE
                                               UNITBlf^TATES ATTORNEY



                                               Jenm          olari
                                                             ", Criminal Division
